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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

MALINDA S. SMIDGA, individually and on     Case No. 2:22-cv-01578-MJH
behalf of all others similarly situated,
                                           JURY TRIAL DEMANDED
       Plaintiff,


v.

SPIRIT AIRLINES, INC.,

       Defendant.


FRANCES CURD, individually and on behalf Case No. 2:23-cv-00895-MJH
of all others similarly situated,
                                         JURY TRIAL DEMANDED
         Plaintiff,


v.

SPIRIT AIRLINES, INC.,

       Defendant.


KAYLA MANDENG, individually and on
behalf of all others similarly situated,   Case No. 2:23-cv-00784-MJH

       Plaintiff,                          JURY TRIAL DEMANDED


v.

SPIRIT AIRLINES, INC.,

       Defendant.
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         FIRST CONSOLIDATED AMENDED COMPLAINT - CLASS ACTION

       Plaintiffs Malinda S. Smidga, Frances Curd, and Kayla Mandeng (“Plaintiffs”),

individually and on behalf of all others similarly situated, hereby file this first consolidated

amended 1 class action complaint against Defendant Spirit Airlines, Inc. (“Defendant” or “Spirit”),

and in support thereof allege the following:

                                        INTRODUCTION

       1.      This is a class action brought against Spirit for wiretapping the electronic

communications of visitors to its website, www.spirit.com. Spirit procures third-party vendors,

such as FullStory, to embed snippets of JavaScript computer code (“Session Replay Code”) on

Spirit’s website, which then deploys on each website visitor’s internet browser for the purpose of

intercepting and recording the website visitor’s electronic communications with Spirit’s website,

including their mouse movements, clicks, keystrokes (such as text being entered into an

information field or text box), URLs of web pages visited, and/or other electronic communications

in real-time (“Website Communications”). The Session Replay Code procured by Defendant

surreptitiously and instantaneously intercepted, stored, and recorded everything Plaintiffs and the

Class Members did on Defendant’s website, e.g., what they searched for, what they looked at, the

information they input, and what they clicked on for the entire duration of their visit.

       2.      These third-party vendors, such as FullStory, (collectively, “Session Replay

Providers”) create and deploy the Session Replay Code at Spirit’s direction, and capture and store

the Website Communications of each website visitor.




1
 The original consolidated complaint, filed August 21, 2023, ECF No. 45, was misnamed as the
“First Amended Consolidated Complaint.” The correct title of the document should have stated
“First Consolidated Complaint.”
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       3.      After intercepting and capturing the Website Communications, Spirit and the

Session Replay Providers use those Website Communications to recreate website visitors’ entire

visit to www.spirit.com. The Session Replay Providers create, using the swaths of website users’

data they collect from users’ browsing sessions and browsing devices, a video replay of the user’s

behavior on the website and provide the video (but not all the intercepted data which is retained

by the Session Replay Provider(s)) to Spirit. Spirit’s procurement of the Session Replay Providers

to secretly deploy the Session Replay Code results in the electronic equivalent of “looking over

the shoulder” of each visitor to Spirit’s website for the entire duration of their interaction with

Defendant’s website.

       4.      Defendant knowingly, willfully, and intentionally procured the interception of, and

used, the electronic communications at issue without the knowledge or prior consent of Plaintiffs

or the Class Members. Defendant did so for its own financial gain and in violation of Plaintiffs’

and the Class Members’ substantive legal privacy rights under the various wiretapping laws and

other state statutes and the common law.

       5.      The Session Replay Code utilized by Defendant is not a traditional website cookie,

tag, web beacon, or analytics tool. It is a sophisticated computer software that enables Session

Replay Providers to secretly contemporaneously intercept, capture, read, observe, re-route,

forward, redirect, and receive incoming electronic communications to Defendant’s website.

       6.      The CEO of a major Session Replay Provider—while discussing the merger of his

company with another Session Replay Provider—publicly exposed why companies like Defendant

employ the use of Session Replay Code on their websites: “The combination of Clicktale and

Contentsquare heralds an unprecedented goldmine of digital data that enables companies to

interpret and predict the impact of any digital element—including user experience, content, price,



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reviews and product—on visitor behavior[.]” 2 This CEO further admitted that “this unique data

can be used to activate custom digital experiences in the moment via an ecosystem of over 50

martech partners. With a global community of customers and partners, we are accelerating the

interpretation of human behavior online and shaping a future of addictive customer experiences.” 3

          7.   Unlike typical website analytics services that provide simple aggregate statistics,

the Session Replay Code utilized by Defendant is intended to record and playback individual

browsing sessions. The technology also permits companies like Defendant to view the interactions

of visitors on their websites in real-time, including capturing partial text field submissions that

users did not intend to send to Defendant (for example, by closing the browser before hitting

“submit”), and certainly did not intend to send to third-party Session Replay Providers.

          8.   Spirit’s conduct violates the California Penal Code § 631, Statutory Larceny, Cal.

Pen. Code §§ 484, 496, Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq.,

Maryland Wiretapping and Electronic Surveillance Act, Md. Code. Ann (“MWESA”)., Cts. & Jud.

Proc. § 10-401, Pennsylvania Wiretapping and Electronic Surveillance Control Act (“WESCA”),

18 Pa. C.S.A. § 5701, et. seq., and constitutes an invasion of the privacy rights of website visitors.

          9.   Plaintiffs bring this action individually and on behalf of a class of all natural persons

in the states of California, Maryland, and Pennsylvania whose Website Communications were

intercepted through Spirit’s procurement and use of Session Replay Code embedded on

www.spirit.com, as well as its subpages, and seeks all civil remedies provided under the causes of




2
  See Contentsquare Acquires Clicktale to Create the Definite Global Leader in Experience
Analytics, available at www.prnewswire.com/news-releases/contentsquare-acquires-clicktale-to-
create-the-definitive-global-leader-in-experience-analytics-300878232.html (last accessed Oct.
26, 2023).
3
    Id.
                                                  3
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action, including but not limited to compensatory, statutory, and/or punitive damages, and

attorneys’ fees and costs.

                                            PARTIES

       10.     Plaintiff Malinda S. Smidga is a citizen of the Commonwealth of Pennsylvania, and

at all times relevant to this action, resided and was domiciled in Allegheny County, Pennsylvania.

Plaintiff Smidga is a citizen of Pennsylvania and accessed spirit.com while in the Commonwealth

of Pennsylvania.

       11.     Plaintiff Frances Curd is a citizen of the State of Maryland, and at all times relevant

to this action, resided and was domiciled in Anne Arundel County, Maryland. Plaintiff Curd is a

citizen of Maryland and accessed spirit.com while in the State of Maryland.

       12.     Plaintiff Kayla Mandeng is a citizen of the State of California, and at all times

relevant to this action, resided and was domiciled in San Diego County, California. Plaintiff

Mandeng is a citizen of California and accessed spirit.com while in the State of California.

       13.     Defendant Spirit Airlines, Inc. is a corporation organized under the laws of

Delaware, and its principal place of business is in Miramar, Florida. Defendant is a citizen of

Florida.

                                 JURISDICTION AND VENUE

       14.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)

because this case is a class action where the aggregate claims of all members of the proposed class

are in excess of $5,000,000.00, exclusive of interest and costs, there are 100 or more members of

the proposed class, and at least one member of the proposed class, including Plaintiff, is a citizen

of a state different than Defendant.




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       15.     This Court has general jurisdiction over Defendant pursuant to Pa. C.S.A. § 5301.

Specifically, this Court has general jurisdiction over Defendant because Defendant is an out-of-

state corporation registered to do business under the laws of the Commonwealth of Pennsylvania

since March 18, 1994. As part of registering to do business in the Commonwealth of Pennsylvania,

Spirit Airlines “shall enjoy the same rights and privileges as a domestic entity and shall be subject

to the same liabilities, restrictions, duties and penalties . . . imposed on domestic entities.” Pa.

C.S.A. § 402(d). Among other things, Pennsylvania law is explicit that “qualification as a foreign

entity under the laws of [the] Commonwealth” shall permit state courts to “exercise general

personal jurisdiction” over a registered foreign corporation, just as they can over a domestic

corporation. Pa. C.S.A. § 5301. Thus, by registering to do business in the Commonwealth of

Pennsylvania and benefiting from the opportunity to do business in the Commonwealth of

Pennsylvania, Defendant has consented to being subject to general jurisdiction in the

Commonwealth of Pennsylvania.

       16.     In the alternative, this Court has specific personal jurisdiction over Defendant

because a substantial part of the events and conduct giving rise to Plaintiffs’ claims and harm

occurred in the Commonwealth of Pennsylvania and the States of Maryland and California. The

privacy violations complained of herein resulted from Defendant’s purposeful and tortious acts

directed towards citizens throughout these states. At all relevant times, Defendant knew its

practices would directly result in the collection of information from individuals located within

California, Maryland, and Pennsylvania while those individuals used Defendant’s website.

Defendant chose to avail itself of the business opportunities of marketing and selling of its services

in California, Maryland, and Pennsylvania, and procuring the interception of real-time data from




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website visitors’ sessions initiated by individuals while located in those places, and the claims

alleged herein arise from those activities.

        17.     Spirit offers numerous flights to and from locations in Pennsylvania, including to

and from Pittsburgh International Airport (“PIT”), the Philadelphia International Airport (“PHL”),

and the Arnold Palmer Regional Airport (“LBE”) in Latrobe, Pennsylvania. In fact, Spirit is the

only commercial airline that serves the Latrobe airport. 4 Through Spirit’s Pennsylvania flight

offerings, Spirit generates substantial revenue from its Pennsylvania contacts as it is PIT’s fifth

largest airline, carrying more than 10 percent of the airport’s passengers and has carried more than

2.5 million passengers at PIT since 2017. 5 Likewise, Spirit is the third-largest airline at PHL,

serving 871,000 passengers at PHL between January and September 2021 alone. 6

        18.     Spirit is continuously made aware that its website is being visited by people located

in Pennsylvania, California and Maryland, and such website visitors are being wiretapped in

violation of Pennsylvania, California, and Maryland statutory and common law. Additionally,

Spirit directly engages in commerce in California and Maryland by offering flights to and from

airports located in these states. Through its website, www.spirit.com, Spirit identifies six airports

in California which it serves: Oakland, Los Angeles, San Diego, Burbank, Orange County and

Sacramento, as well as one Maryland-based airport (Baltimore International Airport).




4
  Melanie Gillespie, Local Airport Hopeful Spirit, Frontier Airline Merger Will Have Positive
Impact on Business, February 7, 2022, https://www.wpxi.com/news/local/westmoreland-
county/local-airport-hopeful-spirit-frontier-airline-merger-will-have-positive-impact-
business/Z7VT7YAVUJAIZJE5B2DLCV7VCI/
5
  Evan Dougherty, Spirit Airlines Celebrates 5 Years of Service at PIT, Blue Sky News (May 23,
2022), https://blueskypit.com/2022/05/23/spirit-airlines-celebrates-5-years-of-service-at-pit/.
6
  Laura Smythe, Spirit Airlines exec says there’s ‘still more opportunity’ in Philadelphia following
announcement of 7 new routes, Philadelphia Business Journal (Dec. 8, 2021),
https://www.bizjournals.com/philadelphia/news/2021/12/08/more-opportunity-spirit-airlines-phl-executive.html.

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       19.     Both desktop and mobile versions of Spirit’s website permit users to search for

nearby airports by providing the user’s current location, as furnished by location-determining tools

of the user’s device or by the user’s IP address (i.e., without requiring the user to manually input

an address). Automatic location services used in this way, means that Spirit is continuously made

aware that its website is being used by residents located in California, Maryland, and Pennsylvania,

and that Spirit’s website visitors are being wiretapped in violation California, Maryland, and

Pennsylvania statutory and common law.

       20.     This Court has personal jurisdiction over Defendant because the wrongful conduct

giving rise to this case occurred in, was directed to, and/or emanated from California, Maryland,

and Pennsylvania. Defendant procured and embedded Session Replay Code, which it used to

permit Session Replay Providers to collect customer use data directly from website visitors in each

of these three states, violating statutory and common law.

       21.     Furthermore, Defendant actively uses the data collected by Session Replay

Providers in all 50 States to specifically target citizens of specific states with marketing and

advertising content resulting in increased profit to Defendant at a significant cost to Plaintiffs and

Class Members in the form of loss of privacy and loss of control over their personal information.

       22.     Defendant’s placement or procurement of the placement of Session Reply Code to

collect the data of citizens of Pennsylvania, Maryland, and California, is deliberate and intentional.

       23.     Though Plaintiffs and Class Members do not have the ability to , if a user so chose,

to deny Defendant permission to collect their data or employ the Session Replay Code on their

computers and/or mobile devices, Defendant’s profits would be reduced because they could not

track Plaintiffs, gather information about them, or push ads to them designed to increase profits.




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          24.   Defendant’s deliberate gathering of data is intentionally targeted toward, and

constitutes purposeful activity directed at citizens, residents, and visitors of Pennsylvania,

Maryland, and California, including Plaintiffs and the Class.

          25.   Defendant’s deliberate placement of Session Replay Code on computers and

mobile devices of unknowing website visitors results in a trespass to chattels—i.e., the computers

and/or mobile devices and/or the data contained therein; a conversion of chattels—i.e., the

computers and/or mobile devices and/or the data contained therein. Given the intentional

placement of Session Replay Code on Defendant’s website to intercept data from website browsers

nationwide, and the use of such intercepted data for specific targeting advertisements and profit,

Defendant could not be surprised to be hailed into court in Pennsylvania, Maryland, or California.

          26.   Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action because

a substantial part of the events, omissions, and acts giving rise to the claims herein occurred in this

District. Further, Pennsylvania has the greatest material interest in protecting the citizens in the

Commonwealth of Pennsylvania and enforcing WESCA given that the interception of Plaintiff’s

and Class Member’s communications occurred from within the borders of the Commonwealth.

          27.   On July 5, 2023, the Court consolidated the above captioned cases into the Smidga

action, thus providing additional support for this Court to be the proper venue for this action. ECF

No. 39.

                                    ARTICLE III STANDING

          28.   Plaintiffs all have Article III standing to pursue their claims. As an initial matter,

the statutory claims pleaded by Plaintiffs below codify substantive rights to privacy. See e.g., In

re Facebook, Inc. Internet Tracking Litigation, 956 F.3d 589, 598 (9th Cir. 2020) (“[T]he

legislative history and statutory text demonstrate that Congress and the California legislature

intended to protect these historical privacy rights when they passed the Wiretap Act, SCA, and
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CIPA.”); Campbell v. Facebook, Inc., 951 F.3d 1106, 1117–18 (9th Cir. 2019) (“[T]he intrusion

itself makes defendant subject to liability…wiretapping is actionable…a wiretapping plaintiff

need not allege any further harm to have standing.”).

       29.     Plaintiffs’ claims arise under the core substantive provisions of state wiretapping

statutes, and state privacy, theft, trespass to chattels, conversion to chattels, and unfair competition

statutes, and as such, confer standing.

       30.     The core provisions and protections of the statutes pled below are targeted at the

substantive intrusion that occurs when private communications are intercepted by someone who

does not have any right to access them, rather than merely setting out procedures for handling data.

       31.     Importantly, the state wiretapping statutes are content-neutral laws of general

applicability, whose primary purpose is to protect the privacy of wire, oral, and electronic

communications by virtue of the fact that they were illegally intercepted i.e., “by virtue of the

source rather than the subject matter.” Bartnicki v. Vopper, 532 U.S. 514, 517 (2001).

       32.     In the counts pleaded herein, Plaintiffs plead statutes that codify a content-specific

extension of the substantive, long recognized, right to privacy: these statutes protect Plaintiffs’

substantive privacy interest in their Website Communications. Every interception and disclosure

of Plaintiffs’ Website Communications offends the privacy interests these statutes protect and

constitutes a concrete injury.

       33.     Plaintiffs allege that Defendant procured Session Replay Providers to collect their

data without consent and violated the concrete privacy interests state wiretapping statutes and state

privacy, theft, and unfair competition statutes, as well as the common law torts of invasion of

privacy and intrusion upon seclusion, protect.




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       34.     Moreover, Plaintiffs allege that Defendant’s procurement of Session Replay

Providers to surreptitiously and instantaneously record every Website Communication is highly

offensive and Plaintiffs have suffered concrete injury from Defendant’s conduct.

       35.     Plaintiffs allege specific facts demonstrating that the sole reason Defendant has

access to aggregated data of Plaintiffs and Class Members is the illegal and nonconsensual

collection and storage of information from Plaintiffs’ Website Communications by third parties.

These allegations assert concrete injuries to protected substantive rights the statutes—and the

common law torts—protect.

       36.     That the information collected by third parties procured by Defendant was private

Website Communications and was later used by Defendant, and third parties, to facilitate the sale

of its own products and services for financial gain also constitutes a concrete injury to Plaintiffs

and Class Members.

       37.     Plaintiffs also allege that the third parties hired by Defendant aggregate and store

Plaintiffs’ and Class Members’ data under unique identifiers. Thus, even if the individual data

points collected are anonymous by themselves, when aggregated, Session Replay Providers and

Defendant use them to uniquely identify each user, creating a “fingerprint” for each individual,

which supports a showing of concrete harm.

       38.     Defendant has profited from Plaintiffs’ Website Communications and has profited

from the collection of Plaintiffs’ data. All Class Members seek individual damages for these

concrete injuries.

       39.     Plaintiffs also allege that their Website Communications have monetary value for

which they were not paid. Because statutes pleaded by Plaintiffs (UCL, for example) afford

Plaintiffs the right to prevent Defendant and its Session Replay Providers from utilizing their data



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for profit, they have a property interest in their data and have suffered an injury-in-fact by

Defendant’s collection, storage, use and sharing of Plaintiffs’ private browsing information.

       40.     In addition, Plaintiffs have Article III standing to pursue injunctive relief. To

establish standing for prospective injunctive relief, a plaintiff must demonstrate “continuing,

present adverse effects.” City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983).

       41.     Plaintiffs and Class Members will continue to use Defendant’s website, but

Defendant’s conduct is ongoing; Defendant continues to unlawfully cause or permit the

interception of Plaintiffs’’ and Class Members’ Website Communications any time they visit

Defendant’s website with Session Replay Code enabled without their consent. Defendant’s

conduct has not stopped, and it will continue to retain third parties to collect users’ private

browsing data for Defendant’s own use without Plaintiffs’ and Class Members’ express consent.

       42.     Plaintiffs have pled sufficient facts alleging concrete injuries for common law torts

of invasion of privacy and intrusion upon seclusion, state wiretapping statutes, and state privacy,

theft and unfair competition statutes.

                                  FACTUAL ALLEGATIONS

       A.      Website User and Usage Data Have Immense Economic Value.

       43.     The “world’s most valuable resource is no longer oil, but data.” 7

       44.     In 2022, Business News Daily reported that some businesses collect personal data

(i.e., gender, web browser cookies, IP addresses, and device IDs), engagement data (i.e., how

consumers interact with a business’s website, applications, and emails), behavioral data (i.e.,

customers’ purchase histories and product usage information), and attitudinal data (i.e., data on


7
  The world’s most valuable resource is no longer oil, but data, The Economist (May 6, 2017),
https://www.economist.com/leaders/2017/05/06/the-worlds-most-valuable-resource-is-no-
longer-oil-but-data.
                                                11
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consumer satisfaction) from consumers. 8 This information is valuable to companies because they

can use this data to improve customer experiences, refine their marketing strategies, capture data

to sell it, and even to secure more sensitive consumer data. 9

       45.     In a consumer-driven world, the ability to capture and use customer data to shape

products, solutions, and the buying experience is critically important to a business’s success.

Research shows that organizations who “leverage customer behavior insights outperform peers by

85 percent in sales growth and more than 25 percent in gross margin.” 10

       46.     In 2013, the Organization for Economic Cooperation and Development (“OECD”)

even published a paper entitled “Exploring the Economics of Personal Data: A Survey of

Methodologies for Measuring Monetary Value.” 11 In this paper, the OECD measured prices

demanded by companies concerning user data derived from “various online data warehouses.” 12

       47.     OECD indicated that “[a]t the time of writing, the following elements of personal

data were available for various prices: USD 0.50 cents for an address, USD 2 [i.e. $2] for a date

of birth, USD 8 for a social security number (government ID number), USD 3 for a driver’s license

number and USD 35 for a military record. A combination of address, date of birth, social security

number, credit record and military is estimated to cost USD 55.” 13




8
   Max Freedman, How Businesses Are Collecting Data (And What They’re Doing With It),
Business News Daily (Aug. 5, 2022), https://www.businessnewsdaily.com/10625-businesses-
collecting-data.html.
9
  Id.
10
   Brad Brown, Kumar Kanagasabai, Prashant Pant & Goncalo Serpa Pinto, Capturing value from
your customer data, McKinsey (Mar. 15, 2017), https://www.mckinsey.com/business-
functions/quantumblack/our-insights/capturing-value-from-your-customer-data.
11
   Exploring the Economics of Personal Data: A Survey of Methodologies for Measuring Monetary
Value, OECD Digital Economy Papers, NO. 220 (Apr. 2, 2013), https://www.oecd-
ilibrary.org/docserver/5k486qtxldmq-en.pdf.
12
   Id. at 25.
13
   Id.
                                                 12
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       B.      Website Users Have a Reasonable Expectation of Privacy in Their Interactions
               with Websites.

       48.     Consumers are skeptical and are wary about their data being collected. A report

released by KPMG shows that “a full 86% of the respondents said they feel a growing concern

about data privacy, while 78% expressed fears about the amount of data being collected.” 14

       49.     Another recent paper also indicates that most website visitors will assume their

detailed interactions with a website will only be used by the website and not be shared with a party

they know nothing about. 15 As such, website visitors reasonably expect that their interactions with

a website should not be released to third parties unless explicitly stated. 16

       50.     Privacy polls and studies show that a majority of Americans consider one of the

most important privacy rights to be the need for an individual’s affirmative consent before a

company collects and shares its customers’ data.

       51.     A recent study by Consumer Reports shows that 92% of Americans believe that

internet companies and websites should be required to obtain consent before selling or sharing

consumers’ data, and the same percentage believe internet companies and websites should be

required to provide consumers with a complete list of the data that has been collected about them. 17




14
   Lance Whitney, Data privacy is a growing concern for more consumers, TechRepublic (Aug.
17, 2021), https://www.techrepublic.com/article/data-privacy-is-a-growing-concern-for-more-
consumers/.
15
   CUJO AI Recent Survey Reveals U.S. Internet Users Expectations and Concerns Towards
Privacy and Online Tracking, CUJO (May 26, 2020), https://www.prnewswire.com/news-
releases/cujo-ai-recent-survey-reveals-us-internet-users-expectations-and-concerns-towards-
privacy-and-online-tracking-301064970.html.
16
   Frances S. Grodzinsky, Keith W. Miller & Marty J. Wolf, Session Replay Scripts: A Privacy
Analysis, The Information Society, 38:4, 257, 258 (2022).
17
   Consumers Less Confident About Healthcare, Data Privacy, and Car Safety, New Survey Finds,
Consumer Reports (May 11, 2017), https://www.consumerreports.org/consumer-reports/
consumers-less-confident-about-healthcare-data-privacy-and-car-safety/.
                                                  13
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       52.     Moreover, according to a study by Pew Research Center, a majority of Americans,

approximately 79%, are concerned about how data is collected about them by companies. 18

       53.     Users act consistently with their expectation of privacy. Following a new rollout of

the iPhone operating software—which asks users for clear, affirmative consent before allowing

companies to track users—85 percent of worldwide users and 94 percent of U.S. users chose not

to allow such tracking. 19

       C.      How Session Replay Code Works.

       54.     Session Replay Code, such as that which Defendant implements on its website,

enables website operators and the Session Replay Providers to intercept, capture, read, observe, re-

route, forward, redirect, record, save, analyze and replay website visitors’ interactions with a given

website. The clandestinely deployed code provides online marketers and website designers with

detailed insights into user behavior by intercepting and recording website visitors “as they click,

scroll, type or navigate across different web pages.” 20

       55.     Session Replay Code goes well beyond normal website analytics when it comes to

collecting the actual contents of communications between website visitors and websites. Unlike

other online advertising tools, Session Replay Code enables a website, and the Session Replay

Provider, to capture and record nearly every action a website visitor takes while visiting the

website, including actions that reveal the visitor’s personal or private sensitive data, sometimes


18
   Americans and Privacy: Concerned, Confused, and Feeling Lack of Control Over Their
Personal       Information,      Pew       Research      Center,   (Nov.     15,     2019),
https://www.pewresearch.org/internet/2019/11/15/americans-and-privacy-concerned-Confused-
and-feeling-lack-of-control-over-their-personal-information/.
19
     Margaret Taylor, How Apple screwed Facebook, Wired, (May 19, 2021),
https://www.wired.co.uk/article/apple-ios14-facebook.
20
   Erin Gilliam Haije, [Updated] Are Session Recording Tools a Risk to Internet Privacy?,
Mopinion (Mar. 7, 2018), https://mopinion.com/are-session-recording-tools-a-risk-to-internet-
privacy/.
                                                 14
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even when the visitor does not intend to submit the data to the website operator, has enabled private

browsing such as “Incognito Mode” with the intention of masking their activities and information,

or has not finished submitting the data to the website operator. 21 As a result, website visitors “aren’t

just sharing data with the [web]site they’re on . . . but also with an analytics service [i.e., the

Session Replay Provider] that may be watching over their shoulder.” 22

        56.     The Session Replay Code utilized by Defendant works by inserting computer code

into the various event handling routines that web browsers use to receive input from users, thus

intercepting the occurrence of communications initiated by the actions the user takes. 23 Simply

put, when a user interacts with the website, they transmit substantive information via electronic

communications in the form of instructions to Defendant’s computer servers utilized to operate the

website. These commands are sent as messages instructing the website host, like Defendant, what

content was being viewed, clicked on, requested and/or inputted by the user.

        57.     When Defendant’s website delivers Session Replay Code to a user’s browser, the

user’s browser will follow the code’s instructions by contemporaneously sending duplicated

responsive messages of the user’s communications, in the form of “Event” data, to a designated

third-party Session Replay Provider server. Upon information and belief, the servers receiving the




21
   Id.
22
   Eric Ravenscraft, Almost Every Website You Visit Records Exactly How Your Mouse Moves,
Medium (Feb. 5, 2020), https://onezero.medium.com/almost-every-website-you-visit-records-
exactly-how-your-mouse-moves-4134cb1cc7a0.
23
   These communications occur through the Hypertext Transfer Protocol (“HTTP”). HTTP works
as a request-response protocol between a user and a server as the user navigates a website. A GET
request is used to request data from a specified source. A POST request is used to send data to a
server. See HTTP Request Methods, located at https://www.w3schools.com/tags/ref_httpmethods.asp (last
visited Oct. 26, 2023).


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event data are exclusively controlled by the third-party entity that wrote the Session Replay Code,

rather than the owner of the website where the code is installed.

        58.     The types of communications captured by the Session Replay Code utilized by

Defendant encompass virtually every user action, including all mouse movements, clicks, scrolls,

zooms, window resizes, keystrokes, text entries, and numerous other forms of a user’s navigation

and interaction through Defendant’s website. To permit a reconstruction of a user’s visit

accurately, the Session Replay Code is capable of capturing these events at hyper-frequent

intervals, often just milliseconds apart. Events are accumulated and transmitted in blocks

periodically throughout the user’s website session, rather than after the user’s visit to the website

is completely finished.

        59.     The data and information intercepted by the Session Replay Code goes well beyond

information about the “when” and “how” of the communications (commonly referred to as “record

data”) and includes the “what” of the communications (i.e., the contents of the communication)

including, inter alia, Plaintiffs’ location, intent to travel, dates of travel, travel locations and

destinations, as well as personal details about Plaintiffs such as dates of birth for all travelers, home

address, phone number, email address, or payment information/credit card information.

        60.     Unless specifically masked through configurations chosen by the website owner,

visible contents of Website Communications are also transmitted to the Session Replay Provider.

Upon information and belief, Defendant does not utilize any masking configuration settings

available to them, and thereby all the captured data is contemporaneously sent to their Session

Replay Providers.

        61.     Once the events from a user session have been secretly recorded by a Session

Replay Code, Defendant’s procured Session Replay Providers store the raw data to be interpreted



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and reproduced for Defendant to view a visual reenactment of the user’s visit through the Session

Replay Provider’s proprietary service platform, usually in the form of a video, meaning that

“[u]nlike typical analytics services that provide aggregate statistics, these scripts are intended for

the recording and playback of individual browsing sessions.” 24 Moreover, the raw event data is

neither readily accessible or interpretable by Defendant itself; instead the raw event data is in the

custody and control of the Session Replay provider, who has the ability to interpret and replay the

data.

        62.    The extent and detail of data collected by the Session Replay Providers for users of

the technology, such as Defendant, far exceeds the stated purpose and Plaintiffs’ and Class

Members’ reasonable expectations when visiting websites like Defendant’s. Indeed, in a patent

dispute, a highly utilized Session Replay Provider openly admitted that this type of technology is

utilized by companies like Defendant to make a profit: “[the] software computes billions of touch

and mouse movements and transforms this knowledge into profitable actions that increase

engagement, reduce operational costs, and maximize conversion rates (i.e., the percentage of users

who take desired actions on a website, such as purchasing a product offered for sale).” 25

        63.    Further, because most Session Replay Codes will by default indiscriminately

capture the maximum range of user-initiated events and content displayed by the website,

researchers have found that a variety of highly sensitive information is captured in event responses

from website visitors, including medical conditions, credit card details, and other personal




24
    Steven Englehardt, No boundaries: Exfiltration of personal data by session-replay scripts,
Freedom to Tinker (Nov. 15, 2017), https://freedom-to-tinker.com/2017/11/15/no-boundaries-
exfiltration-of-personal-data-by-session-replay-scripts/.
25
   Content Square SAS v. Quantum Metric, Inc., Case No. 1:20-cv-00832-LPS, Compl. at ¶ 8 [DE
1] (D. Del. Jun. 22, 2020).
                                                 17
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information displayed or entered on webpages. Upon information and belief, the Session Replay

Code utilized by Defendant captures data including such highly sensitive information.

       64.     Most alarming, the Session Replay Code captures data that the user did not even

intentionally transmit to a website during a visit, and then makes that data available to Defendant

when they access the session replay through the Session Replay Provider. For example, if a user

types information into a text form field, but then decides not to click a “submit” or “enter” button

on the website, the Session Replay Code will still cause the non-submitted text to be sent to the

designated event-response-receiving Session Replay Provider’s server before the user deletes the

text or leaves the page. This information - which the user had never intended to be viewed - will

then be accessible to Defendant while viewing the session replay through the Session Replay

Provider.

       65.     Session Replay Code does not necessarily anonymize user sessions, either.

       66.     First, if a user’s entry of personally identifying information is captured in an event

response, that data will become known and visible to both the Session Replay Provider and the

website owner.

       67.     Second, if a website displays user account information to a logged-in user, that

content could be captured by Session Replay Code.

       68.     Third, some Session Replay Providers, including those utilized by Defendant,

explicitly offer website owners functionality that permits linking a session to an identified user,

who may be personally identified if the website owner has associated the user with an email

address or username. 26




26
   Id.; see also FS.identify – Identifying users, FullStory, https://help.fullstory.com/hc/en-
us/articles/360020828113, (last visited Oct. 26, 2023); How does Mouseflow detect new and
                                                18
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         69.    Session Replay Providers often create “fingerprints” that are unique to a particular

user’s combination of computer and browser settings, screen configuration, and other detectable

information. The resulting fingerprint, which is often unique to a user and rarely changes, is

collected across all sites that the Session Replay Provider monitors.

         70.    When a user eventually identifies themselves to one of these websites (such as by

filling in a form), the provider can then associate the fingerprint with the individual user identity

and can back-reference all of that individual user’s other web browsing across other websites

previously visited, including on websites where the user had intended to remain anonymous—

even if the user explicitly indicated that they would like to remain anonymous by enabling private

browsing.

         71.    In addition to the privacy invasions caused by the diversion of user communications

with websites to third-party Session Replay Providers, Session Replay Code also exposes website

visitors to identity theft, online scams, and other privacy threats. 27 Indeed, “[t]he more copies of

sensitive information that exist, the broader the attack surface, and when data is being collected

[… . ] it may not be stored properly or have standard protections” increasing “the overall risk that

data will someday publicly leak or be breached.” 28 Moreover, users are deprived of their capacity

to consent to the additional storage of their communications and personal information by a third-

party.




returning visitors?, Mouseflow, https://help.mouseflow.com/en/articles/4361083-how-does-mouseflow-detect-
new-and-returning-visitors (last visited Oct. 26, 2023).
27
   Juha Sarrinen, Session Replay is a Major Threat to Privacy on the Web, itnews (Nov. 16, 2017),
https://www.itnews.com.au/news/session-replay-is-a-major-threat-to-privacy-on-the-web-
477720.
28
   Lily Hay Newman, Covert ‘Replay Sessions’ Have Been harvesting Passwords by Mistake,
WIRED (Feb. 26, 2018), https://www.wired.com/story/covert-replay-sessions-harvesting-
passwords/.
                                                   19
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       72.     The privacy concerns arising from Session Replay Code are not theoretical or

imagined. The CEO and founder of LOKKER, a provider of data privacy and compliance solutions

has said “[consumers] should be concerned” about the use of Session Replay Code because “they

won’t know these tools are operating ‘behind the scenes’ of their site visit” and “even if the

company disclosed that they are using these tools, consumers wouldn’t likely be able to opt-out

and still use the site.” 29 True to this statement, Defendant’s website offers no opportunity to opt-

out of its use of Session Replay Code, including if a user utilizes a private browsing mode on their

browser.

       73.     Indeed, the news is replete with examples of the dangers of Session Replay Code.

For example, in 2019, the App Analyst, a mobile expert who writes about his analyses of popular

apps, found that Air Canada’s iPhone app wasn’t properly masking the session replays they were

sent, exposing unencrypted credit card data and password information. 30 This discovery was made

just weeks after Air Canada said its app had a data breach, exposing 20,000 profiles. 31

       74.     Further, multiple companies have removed Session Replay Code from their

websites after it was discovered the Session Replay Code captured highly sensitive information.

For instance, in 2017, Walgreens stopped sharing data with a Session Replay Provider after it was

discovered that the Session Replay Provider gained access to website visitors’ sensitive




29
    Mark Huffner, Is ‘session replay software’ a privacy threat or just improving your web
experience, Consumer Affairs (Oct. 25, 2022), https://www.consumeraffairs.com/news/is-session-
replay-software-a-privacy-threat-or-just-improving-your-web-experience-102522.html.
30
   Zach Whittaker, Many Popular iPhone Apps Secretly Record Your Screen Without Asking,
TechCrunch (Feb. 6, 2019), https://techcrunch.com/2019/02/06/iphone-session-replay-
screenshots/.
31
   Id.
                                                 20
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information. 32 Indeed, despite Walgreens’ extensive use of manual redactions for displayed and

inputted data, the Session Replay Provider still gained access to full names of website visitors,

their medical conditions, and their prescriptions. 33

        75.      Following the Walgreens incident, Bonobos, a men’s clothing retailer, announced

that it was eliminating data sharing with a Session Replay Provider after it was discovered that the

Session Replay Provider captured credit card details, including the cardholder’s name and billing

address, and the card’s number, expiration, and security code from the Bonobos’ website. 34

        76.      Recognizing the privacy concerns posed by Session Replay Code, in 2019 Apple

required app developers to remove or properly disclose the use of analytics code that allow app

developers to record how a user interacts with their iPhone apps or face immediate removal from

the app store. 35 In announcing this decision, Apple stated: “Protecting user privacy is paramount in

the Apple ecosystem. Our App Store Review Guidelines require that apps request explicit user

consent and provide a clear visual indication when recording, logging, or otherwise making a record

of user activity.” 36

        77.      Consistent with Apple’s concerns, countless articles have been written about the

privacy implications of recording user interactions during a visit to a website, including the

following examples:




32
    Nitasha Tiku, The Dark Side of ‘Replay Sessions’ That Record Your Every Move Online,
WIRED (Nov. 16, 2017), https://www.wired.com/story/the-dark-side-of-replay-sessions-that-
record-your-every-move-online/.
33
   Englehardt, supra note 24.
34
   Tiku, supra note 32.
35
   Zack Whittaker, Apple Tells App Developers to Disclose or Remove Screen Recording Code,
TechCrunch (Feb. 7, 2019), https://techcrunch.com/2019/02/07/apple-glassbox-apps/.
36
   Id.
                                                  21
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  (a) The Dark Side of ‘Replay Sessions’ That Record Your Every Move Online,

     located   at   https://www.wired.com/story/the-dark-side-of-replay-sessions-that-

     record-your-every-move-online/ (last visited Oct. 26, 2023);

  (b) Session-Replay Scripts Disrupt Online Privacy in a Big Way, located at

     https://www.techrepublic.com/article/session-replay-scripts-are-disrupting-online-

     privacy-in-a-big-way/ (last visited Oct. 26, 2023);

  (c) Are Session Recording Tools a Risk to Internet Privacy?, located at

     https://mopinion.com/are-session-recording-tools-a-risk-to-internet-privacy/ (last

     visited Oct. 26, 2023);

  (d) Session Replay is a Major Threat to Privacy on the Web, located at

     https://www.itnews.com.au/news/session-replay-is-a-major-threat-to-privacy-on-

     the-web-477720 (last visited Oct. 26, 2023);

  (e) Session Replay Scripts Could be Leaking Sensitive Data, located at

     https://medium.com/searchencrypt/session-replay-scripts-could-be-leaking-

     sensitive-data-5433364b2161 (last visited Oct. 26, 2023);

  (f) Website Owners can Monitor Your Every Scroll and Click, located at

     https://www.digitalinformationworld.com/2020/02/top-brands-and-websites-can-

     monitor-your-every-scroll-and-click.html (last visited Oct. 26, 2023); and

  (g) Sites Using Session Replay Scripts Leak Sensitive User Data, located at

     https://www.helpnetsecurity.com/2017/11/20/session-replay-data-leak (last visited

     Oct. 26, 2023).




                                      22
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        D.       Spirit Secretly Wiretaps and Procures Session Reply Providers to Wiretap its
                 Website Visitors’ Electronic Communications.

        78.      Spirit operates the website www.spirit.com, as well as all of its subpages. Spirit is

an airline whose planes serve more than ninety destinations across the country.

        79.      Spirit’s website allows website visitors to search for flights. However, Spirit’s

website includes many other links and features including sections for “Investor Relations,”

“Careers,” and the “Spirit Charitable Foundation.” 37 Spirit’s website also provides information

about the Free Spirit ® World Elite Mastercard® (including a button that links to a page where

one can apply for the card). 38 Finally, Spirit’s website has modules for booking hotels, cars, and

even cruises—i.e., travel-related services separate and distinct from air transportation. 39

        80.      However, unbeknownst to the millions of individuals browsing Spirit’s website,

Spirit intentionally procures and embeds various Session Replay Codes from Session Replay

Providers on its website to track and analyze website user interactions with www.spirit.com and

its subpages.

        81.      One such Session Replay Provider that Spirit procures is FullStory.

        82.      Each of the Session Replay Codes used by Defendant provides detailed information

about website user sessions, interactions, and engagement, with the capacity to break down users

by device type, location, and other dimensions. 40




37
   See https://www.spirit.com/ (last visited Oct. 26, 2023).
38
   Id.
39
   Id.
40
   See Jono Alderson, An Introduction to Microsoft Clarity, Yoast, https://yoast.com/introduction-
microsoft-clarity/#h-what-is-microsoft-clarity, (last visited Oct. 26, 2023); Search for Recordings
by     a     User's      IP     Address,      Location,    and Other     Identifiers,   Mouseflow,
https://help.mouseflow.com/en/articles/5882714-search-for-recordings-by-a-user-s-ip-address-location-and-other-
identifiers, (last visited Oct. 26, 2023).

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        83.      FullStory is the owner and operator of a Session Replay Code titled FullStory

Script, which records all website visitor actions, including information typed by the website users

while on the website. Such information includes names, emails, phone numbers, addresses, Social

Security numbers, dates of birth, and more. Research by the Princeton University Center for

Information Technology Policy found that “text typed into forms is collected before the user

submits the form, and precise mouse movements are saved, all without any visual indication to the

user.” 41

        84.      As a user interacts with any website with the embedded FullStory Script, “each

click, tap, URL visit, and every other interaction is sent in tiny little packets to that existing session

at FullStory servers.” 42 This includes button clicks, mouse movements, scrolling, resizing, touches

(for mobile browsers), key presses, page navigation, changes to visual elements in the browsers,

network requests, and more. 43

        85.      As such, the FullStory Script collects highly personal information and substantive

communications that can be linked directly to a website user’s identity as it monitors, records, and

collects a website user’s every move. And like other Session Replay Codes, the information

collected and recorded by the FullStory Script can then be used to play back a user’s journey

through a website, showing how they interacted with site navigation, calls to action, search

features, and other on-page elements. Put differently, the information the FullStory Script captures

can be translated into a simulation video of how a user interacts with a website.




41
   Steven Englehardt, supra note 24.
42
   Id.
43
   How does FullStory capture data to recreate my users’ experience?, FullStory,
https://help.fullstory.com/hc/en-us/articles/360032975773-How-does-FullStory-capture-data-to-
recreate-my-users-experience-, (last visited Oct. 26, 2023) (hereinafter “FullStory Data
Capture”).
                                                   24
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         86.    Finally, the FullStory Script enables collecting website visitors’ IP addresses and

geolocation data in a visible and searchable format for websites such as Spirit. Indeed, the

FullStory Script uses IP addresses “to surface geolocation data” and in turn, “[t]his geolocation

data allows users to segment for sessions by country, state, or city.” 44 Put differently, by capturing

IP address information, the FullStory Script enables websites, like Spirit, to search recorded

website user sessions by specific locations that is “fairly accurate” at the country and state level,

and less so at the city level. 45

         87.    Importantly, the FullStory Script captures IP addresses by default and the FullStory

Script requires websites like Spirit’s to manually toggle “Discard user IP addresses” to “off” in the

FullStory Script’s data capture and privacy settings if they do not want the FullStory Script to

maintain IP addresses in a readily visible and searchable manner. 46 And even if a website chooses

to discard user IP addresses, this does not preclude the FullStory Script from using the IP addresses

collected during a website session from collecting other location data such as country or state. 47

Nor is this feature retroactive. If the FullStory Script has already captured IP addresses, they

remain searchable to clients (and FullStory) until the client exceeds their “product analytics

retention period and have been deleted.” 48

         88.    Given the breadth of information the FullStory Script collects, including a website

user’s IP address and geolocation data, it is inevitable that Spirit knows it is capturing, collecting,

and recording the Website Communications of Pennsylvania, Maryland, and California residents.




44
  IP Address & Geolocation, FullStory, https://help.fullstory.com/hc/en-us/articles/
360045926353-IP-Address-Geolocation (last visited Oct. 26, 2023).
45
   Id.
46
   Id.
47
   Id.
48
   Id.
                                                   25
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       89.     Spirit’s procurement and use of FullStory’ s Session Replay Code, and procurement

and use of other Session Replay Codes through various Session Replay Providers, is a wiretap in

violation Pennsylvania, Maryland, and California statutory and common law. Indeed, once a

website installs the FullStory Script that code acts as a secret wiretap that sends users’ Website

Communications to FullStory in real time, instantly reporting every keystroke, movement, click,

and/or moment of inactivity to the FullStory server.

       E.      Plaintiffs’ and Class Members’ Experience.

Plaintiff Smidga

       90.     Plaintiff Smidga has visited www.spirit.com and certain of its subpages on her

computer while in Pennsylvania.

       91.     While visiting Spirit’s website, Plaintiff Smidga fell victim to Defendant’s

unlawful monitoring, recording, and collection of Plaintiff Smidga’s Website Communications

with www.spirit.com prior to the filing of this action.

       92.     Unknown to Plaintiff Smidga, Spirit procures and embeds Session Replay Code on

its website. In particular, the FullStory Script was operative on Spirit’s website and subpages

during Plaintiff Smidga’s visits to Spirit’s website.

       93.      During these visits by Plaintiff Smidga to www.spirit.com and its subpages,

Plaintiff Smidga searched for flight options to and from PIT. Plaintiff Smidga communicated with

Spirit’s website by using her mouse to hover and click on certain flight options.

       94.     Even though Plaintiff Smidga did not end up purchasing flights on her visits to

Spirit’s website, the Session Replay Code nevertheless instantaneously captured her Website

Communications throughout her visits. Indeed, through Defendant’s procurement of Session




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Replay Code, Plaintiff Smidga’s Website Communications were automatically and secretly

intercepted by using Defendant’s website.

       95.     During Plaintiff Smidga’s visits to Defendant’s website, Plaintiff Smidga, through

her computer, transmitted electronic communications in the form of instructions to Defendant's

computer servers utilized to operate the website. The commands were sent as messages instructing

Defendant what content was being viewed, clicked on, requested and/or inputted by Plaintiff

Smidga. The communications sent by Plaintiff Smidga to Defendant’s servers included, but were

not limited to, the following actions taken by Plaintiff Smidga while on the website: mouse clicks

and movements, keystrokes, search terms, substantive information inputted by Plaintiff Smidga,

pages and content viewed by Plaintiff Smidga, scroll movement, and copy and paste actions.

       96.     The data and information intercepted by the Session Replay Code goes well beyond

information about the “when” and “how” of the communications (commonly referred to as “record

data”) and includes the “what” of the communications (i.e., the contents of the communication)

including, inter alia, Plaintiffs’ location, intent to travel, dates of travel, travel locations and

destinations, as well as such personal details about Plaintiffs such as dates of birth, home address,

phone number, email address, or payment information/credit card information

       97.     Defendant responded to Plaintiff Smidga’s electronic communications by

supplying—through its website—the information requested by Plaintiff Smidga.

       98.     Plaintiff Smidga reasonably expected that her interactions with Spirit’s website

were private and that Defendant would not have procured a third party that was tracking, recording,

and/or watching Plaintiff Smidga as she browsed, interacted with the website, and searched for

products, particularly because Plaintiff Smidga was not presented with any type of pop-up




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disclosure, consent form, or privacy policy alerting Plaintiff Smidga that her visits to the website

were being recorded by Defendant through a third party.

       99.     Defendant’s data collection is highly offensive, and Plaintiff Smidga has suffered

concrete injury from Defendant’s vast collection, aggregation and use of Plaintiff Smidga’s

personal browsing histories without consent.

Plaintiff Curd

       100.    While in Maryland, Plaintiff Curd visited www.spirit.com and certain of its

subpages on her computer in on several occasions since March 2020. Curd browsed for flight

options for herself and her two children and communicated with Spirit’s website by using her

mouse to hover and click on certain flight options and typing search words into the search bar.

       101.    Even though Plaintiff Curd did not purchase         flights on all of her visits to

Defendant’s website, the Session Replay Code nevertheless instantaneously captured her Website

Communications throughout her visit. Indeed, through Defendant’s procurement of Session

Replay Code, Plaintiff Curd’s Website Communications were automatically and secretly

intercepted by using Defendant’s website.

       102.    During Plaintiff Curd’s visits to Defendant’s website, Plaintiff Curd, through her

computer, transmitted electronic communications in the form of instructions to Defendant's

computer servers utilized to operate the website. The commands were sent as messages instructing

Defendant what content was being viewed, clicked on, requested and/or inputted by Plaintiff Curd.

The communications sent by Plaintiff Curd to Defendant’s servers included, but were not limited

to, the following actions taken by Plaintiff Curd while on the website: mouse clicks and

movements, keystrokes, search terms, substantive information inputted by Plaintiff Curd, pages

and content viewed by Plaintiff Curd, scroll movement, and copy and paste actions.



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       103.    The data and information intercepted by the Session Replay Code goes well beyond

information about the “when” and “how” of the communications (commonly referred to as “record

data”) and includes the “what” of the communications (i.e., the contents of the communication)

including, inter alia, Plaintiffs’ location, intent to travel, dates of travel, travel locations and

destinations, as well as such personal details about Plaintiff such as dates of birth, home address,

phone number, email address, or payment information/credit card information.

       104.    Defendant responded to Plaintiff Curd’s electronic communications by

supplying—through its website—the information requested by Plaintiff Curd.

       105.    Plaintiff Curd reasonably expected that her visit to Defendant’s website was private

and that Defendant would not have procured a third party that was tracking, recording, and/or

watching Plaintiff Curd as she browsed, interacted with the website, and searched for products,

particularly because Plaintiff Curd was not presented with any type of pop-up disclosure, consent

form, or privacy policy alerting Plaintiff Curd that her visit to the website was being recorded by

Defendant through a third party.

       106.    Defendant’s data collection is highly offensive, and Plaintiff Curd has suffered

concrete injury from Defendant’s vast collection, aggregation and use of Plaintiff Curd’s personal

browsing histories without consent.

Plaintiff Mandeng

       107.    While in California, Plaintiff Mandeng visited www.spirit.com on her computers

and/or mobile devices.

       108.    Specifically, in September 2022, Plaintiff Mandeng searched available flights for

her and her four (4) children on spirit.com and purchased tickets.

       109.    During Plaintiff Mandeng’s visits to Defendant’s website, Plaintiff Mandeng,



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through her computer and/or mobile device, transmitted electronic communications in the form of

instructions to Defendant’s computer servers utilized to operate the website. The commands were

sent as messages instructing Defendant what content was being viewed, clicked on, requested

and/or inputted by Plaintiff Mandeng. The communications sent by Plaintiff Mandeng to

Defendant’s servers included, but were not limited to, the following actions taken by Plaintiff

Mandeng while on the website: mouse clicks and movements, keystrokes, search terms,

substantive information inputted by Plaintiff Mandeng, pages and content viewed by Plaintiff

Mandeng, scroll movement, and copy and paste actions. During this process, Plaintiff Mandeng

input the names, addresses and ages of herself and her four (4) children, the departure and arrival

locations for her potential trip, and her credit card and billing information.

       110.    Defendant responded to Plaintiff Mandeng’s electronic communications by

supplying—through its website—the information requested by Plaintiff Mandeng.

       111.    Plaintiff Mandeng reasonably expected that her visit to Defendant’s website were

private and that Defendant would not have procured a third party that was tracking, recording,

and/or watching Plaintiff Mandeng as she browsed, interacted with the website, and searched for

products, particularly because Plaintiff Mandeng was not presented with any type of pop-up

disclosure, consent form, or privacy policy alerting Plaintiff Mandeng that her visit to the website

was being recorded by Defendant through a third party.

       112.    Defendant’s data collection is highly offensive, and Plaintiff Mandeng has suffered

concrete injury from Defendant’s vast collection, aggregation and use of Plaintiff Mandeng’s

personal browsing histories without consent.




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Class Members Experiences on Defendant’s website
       113.    Further, without their consent, Spirit procured Session Replay Providers to obtain

information about Plaintiffs’ and Class Members’ devices and browsers and create unique IDs and

profiles for each of them.

       114.    For example, when visiting www.spirit.com and its subpages, if a website user

searches for flights, that information is captured by the Session Replay Codes embedded on the

website:




       Depicting information sent to one of the Service Replay Providers—FullStory—
       through a Service Replay Code—FullStory Script—after entering looking for
       flights from Pittsburgh, PA (PIT) to Nashville, TN (BNA) on October 28 and
       returning October 30 on www.spirit.com.



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       115.    The wiretapping facilitated by the Session Replay Codes is ongoing during each

website visit and intercepts the contents of these communications between Class Members’ (and

Plaintiffs) and Spirit with instantaneous transmissions to the Session Replay Provider, as illustrated

below, in which only 93 milliseconds were required to send a packet of event response data, which

would indicate whatever the website user had just done:




       116.    Thus, on multiple occasions when Class Members (and Plaintiffs) visited Spirit’s

website, the contents of their communications with the website were intercepted by Session Replay

Code and simultaneously transmitted to Session Replay Providers.

       117.    The Session Replay Codes operate in the same manner for all putative Class

Members.

       118.    Like Plaintiffs, each Class Member visited www.spirit.com with Session Replay

Code embedded in it, and those Session Replay Codes intercepted the Class Members’ Website

Communications with www.spirit.com by sending hyper-frequent logs of those communications

to Session Replay Providers.

       119.    Even if Spirit masks certain elements when it configures the settings of the Session

Replay Code embedded on its website, any operational iteration of the Session Replay Code will,

                                                 32
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by its very nature and purpose, intercept the contents of communications between the website’s

visitors and the website owner.

       120.    For example, even with heightened masking enabled, the third-party Session

Replay Providers will still learn through the intercepted data exactly which pages a user navigates

to, how the user moves through the page (such as which areas the user zooms in on or interacted

with), and additional substantive information.

       121.    The Session Replay Code procured by Spirit is an electronic, mechanical, or other

analogous device in that the Session Replay Code, monitors, collects, and records the content of

electronic computer-to-computer communications between Plaintiffs’ mobile computer and/or

mobile device and the computer servers and hardware utilized by Spirit to operate its website.

       122.    Additionally, the Session Replay Code is software designed to alter the operation

of a website visitor’s computer or mobile phone by instructing the hardware components of that

physical device to run the processes that ultimately intercept the visitor’s communications and

transmit them to the third-party Session Replay Provider, without the visitor’s knowledge.

       123.    The Session Replay Code procured by Spirit is not a website cookie, analytics tool,

tag, web beacon, or other similar technology. Instead, the data collected by the Session Replay

Code identified specific information inputted and content viewed, and thus revealed personalized

and sensitive information about website visitors’ Internet activity and habits. As such, by the very

nature of its operation, the Session Replay Code is a device used to intercept electronic

communications.

       124.    The Website Communications intentionally monitored, collected, and recorded by

Spirit (and the Session Replay Provider) was content generated through Plaintiffs’ and Class

Members’ use, interaction, and communication with Spirit’s website relating to the substance



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and/or meaning of Plaintiffs’ and Class Members’ communications with the website, i.e., mouse

clicks and movements, keystrokes, search terms, information inputted by Plaintiffs and Class

Members, and pages and content clicked on and viewed by Plaintiffs and Class Members. The

mere fact that Spirit values this content, and monitors, intercepts and records it, confirms these

communications are content that convey substance and meaning to Spirit, and in turn, any Session

Replay Provider that receives the intercepted information.

       125.    Plaintiffs and Class Members did not provide prior consent to Spirit’s interception

of their Website Communications, nor could they, as the interception begins immediately upon

arriving at www.spirit.com and/or its subpages.

       126.    Spirit does not ask website visitors, including Plaintiffs and Class Members, for

prior consent before wiretapping their Website Communications. Indeed, Plaintiffs and Class

Members have no knowledge upon arriving at the website that Spirit is using Session Replay Code

to monitor, collect, and record their Website Communications because the Session Replay Code

is seamlessly incorporated and embedded into Spirit’s website.

       127.    Further, while Spirit maintains a purported “Cookie Banner” on its website, the

Cookie Banner is insufficient for Plaintiffs to furnish prior consent. First, because the wiretapping

begins the moment a website user arrives on the website, Plaintiffs had no opportunity to review

the Cookie Banner before they were wiretapped and therefore had no meaningful opportunity to

opt out of, or prevent, the wiretapping from occurring. Second, Session Replay code is not a

cookie, much less a run-of-the mill cookie. Common cookies that consumers might be familiar

with do not engage in session replay recording or all of the features described above. Rather as the

2017 study recognized, the extent of data collected by Session Replay Code “far exceeds user




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expectations; text typed into forms is collected before the user submits the form, and precise mouse

movements are saved, all without any visual indication to the user.” 49

          128.   Further, while Spirit purports to maintain a “Privacy Policy,” the Privacy Policy is

insufficient for Plaintiffs and Class Members to furnish prior consent. First, because the

wiretapping begins the moment a website user visits www.spirit.com or one of its subpages,

Plaintiffs and Class Members had no opportunity to review the Privacy Policy before they were

wiretapped and therefore could not have opted out of or prevented the wiretapping before it

occurred. Additionally, a reasonable person would not be on notice of the terms of Spirit’s Privacy

Policy by way of normal interaction with the website. Spirit’s Privacy Policy is contained on the

homepage of www.spirit.com, in a Cookie Banner that has nothing to do with Session Replay

Code or the collection of Website Communications. As such a reasonable person could interact

with Spirit’s website without ever being on notice of the purported Privacy Policy.

                                  CLASS ACTION ALLEGATIONS

          129.   Plaintiffs bring this action pursuant to Federal Rule of Civil Procedure 23

individually and on behalf of the following Classes:

          California Class:

          All natural persons in California whose Website Communications were captured
          through the use of Session Replay Code embedded in Defendant’s website.

          Maryland Class:

          All natural persons in Maryland whose Website Communications were through the
          use of Session Replay Code embedded in Defendant’s website.

          Pennsylvania Class:

          All natural persons in Pennsylvania whose Website Communications were captured
          through the use of Session Replay Code embedded in Defendant’s website.

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     Englehardt, supra note 24.
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       130.    Excluded from the Classes are Defendant, its parents, subsidiaries, affiliates,

officers, and directors, all persons who make a timely election to be excluded from the Classes,

the judge to whom this case is assigned, and any immediate family members thereof, and the

attorneys who enter their appearance in this action.

       131.    Numerosity: The members of the Classes are so numerous that individual joinder

of all Class Members is impracticable. The precise number of Class Members and their identities

may be obtained from the books and records of Defendant or the Session Replay Providers.

       132.    Commonality: This action involves questions of law and fact that are common to

the Class Members. Such common questions include, but are not limited to:

               a.     whether Defendant procures Session Replay Providers to intercept

                      Defendant’s website’s visitors’ Website Communications;

               b.     whether Defendant intentionally discloses the intercepted Website

                      Communications of its website users;

               c.     whether Defendant acquires the contents of website users’ Website

                      Communications without their consent;

               d.     whether Defendant’s conduct violates California Penal Code § 631

                      (“CIPA”), Statutory Larceny, Cal. Pen. Code §§ 484, 496, Unfair

                      Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq., MWESA, Md.

                      Code. Ann., Cts. & Jud. Proc. § 10-401, or WESCA, 18 Pa. C.S.A. §§ 5701,

                      et seq.,;

               e.     whether Plaintiffs and the Class Members are entitled to equitable relief;

                      and




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                f.      whether Plaintiffs and the Class Members are entitled to actual, statutory,

                        punitive, or other forms of damages, and other monetary relief.

        133.    Typicality: Plaintiffs’ claims are typical of the other Class Members’ claims

because, among other things, all Class Members were comparably injured through the uniform

prohibited conduct described above. For instance, Plaintiffs and each member of the Classes had

their communications intercepted in violation of the law and their right to privacy. This uniform

injury and the legal theories that underpin recovery make the claims of Plaintiffs and the members

of the Class typical of one another.

        134.    Adequacy of Representation: Plaintiffs have and will continue to fairly and

adequately represent and protect the interests of the Classes. Plaintiffs have retained counsel

competent and experienced in complex litigation and class actions, including litigations to remedy

privacy violations. Plaintiffs have no interest that is antagonistic to the interests of the Classes, and

Defendant has no defenses unique to Plaintiffs. Plaintiffs and their counsel are committed to

vigorously prosecuting this action on behalf of the members of the Classes, and they have the

resources to do so. Neither Plaintiffs nor their counsel have any interest adverse to the interests of

the other members of the Classes.

        135.    Superiority: This class action is appropriate for certification because class

proceedings are superior to other available methods for the fair and efficient adjudication of this

controversy and joinder of all members of the Classes is impracticable. This proposed class action

presents fewer management difficulties than individual litigation, and provides the benefits of

single adjudication, economies of scale, and comprehensive supervision by a single court. Class

treatment will create economies of time, effort, and expense and promote uniform decision-

making.



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         136.   Predominance: Common questions of law and fact predominate over any

questions affecting only individual Class Members. Similar or identical violations, business

practices, and injuries are involved. Individual questions, if any, pale by comparison, in both

quality and quantity, to the numerous common questions that dominate this action. For example,

Defendant’s liability and the fact of damages is common to Plaintiffs and each member of the

Classes. If Defendant intercepted Plaintiffs’ and Class Members’ Website Communications, then

Plaintiffs and each Class Member suffered damages by that conduct.

         137.   Ascertainability: Members of the Classes are ascertainable. Class Membership is

defined using objective criteria and Class Members may be readily identified through Defendant’s

books and records or the Session Replay Providers’ books and records.

                                      COUNT I
                     VIOLATION OF PENNSYLVANIA WIRETAP ACT
                             18 Pa. Cons. Stat. § 5701, et. seq.
         138.   Plaintiff Smidga incorporates the preceding paragraphs as if fully set forth herein.

         139.   Plaintiff Smidga brings this claim individually and on behalf of the Pennsylvania

Class.

         140.   The Pennsylvania Wiretap Act (the “Act”) prohibits (1) the interception or

procurement of another to intercept any wire, electronic, or oral communication; (2) the intentional

disclosure of the contents of any wire, electronic, or oral communication that the discloser knew

or should have known was obtained through the interception of a wire, electronic, or oral

communication; and (3) the intentional use of the contents of any wire, electronic, or oral

communication that the discloser knew or should have known was obtained through the

interception of a wire, electronic, or oral communication. 18 Pa. Cons. Stat. § 5703.

         141.   Any person who intercepts, discloses, or uses or procures any other person to

intercept, disclose, or use, a wire, electronic, or oral communication in violation of the Act is

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subject to a civil action for (1) actual damages, not less than liquidated damages computed at the

rate of $100/day for each violation or $1,000, whichever is higher; (2) punitive damages; and (3)

reasonable attorneys’ fees and other litigation costs incurred. 18 Pa. Cons. Stat. § 5725(a).

       142.    “Intercept” is defined as any “[a]ural or other acquisition of the contents of any

wire, electronic or oral communication through the use of any electronic, mechanical or other

device.” 18 Pa. Cons. Stat. § 5702.

       143.    “Contents” is defined as “used with respect to any wire, electronic or oral

communication, is any information concerning the substance, purport, or meaning of that

communication.” 18 Pa. Cons. Stat. § 5702.

       144.    “Person” is defined as “any individual, partnership, association, joint stock

company, trust or corporation.” 18 Pa. Cons. Stat. § 5702.

       145.    “Electronic Communication” is defined as “[a]ny transfer of signs, signals, writing,

images, sounds, data or intelligence of any nature transmitted in whole or in part by a wire, radio,

electromagnetic, photoelectronic or photo-optical system.” 18 Pa. Cons. Stat. § 5702.

       146.    Spirit is a person for purposes of the Act because it is a corporation.

       147.    Session Replay Code like that procured by Spirit is a “device” used for the

“acquisition of the contents of any wire, electronic, or oral communication” within the meaning of

the Act. Courts have held that software constitutes a “device” for purposes of applying wiretap

statutes. See, e.g., United States v. Barrington, 648 F.3d 1178, 1203 (11th Cir. 2011) (accepting

that a keylogger software could be considered a device); Luis v. Zang, 833 F.3d 619, 630 (6th Cir.

2016) (accepting that a software could be a “device” for the purpose of the Wiretap Act); In re

Carrier IQ, Inc., 78 F. Supp. 3d 1051, 1087 (N.D. Cal. 2015) (concluding that a software was an

“electronic, mechanical or other device”); Klumb v. Goan, 884 F. Supp. 2d 644, 661-62 (E.D. Ten.



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2012) (analyzing spyware software as a device under Wiretap Act); Shefts v. Petrakis, 2012 WL

4049484, at *8-9 (C.D. Ill. 2012) (analyzing software as a device under the Wiretap Act).

        148.     Alternatively, even if the Session Replay Code itself were not considered a “device”

under the Act, Spirit ultimately “uses” the physical computers and mobile phones of Plaintiff

Smidga and Class Members by sending the Session Replay Code to those devices. In turn, the

Session Replay Code instructs those devices to run the physical processes necessary to accomplish

the interception of Plaintiff Smidga’s and Class Members’ communications and transmission of

those communications to the third-party Session Replay Providers.

        149.     Spirit intentionally procures and embeds Session Replay Code on its website to spy

on—automatically and secretly—and to intercept its website visitors’ electronic interactions

communications with Spirit in real time.

        150.     Plaintiff Smidga’s and Class Members’ intercepted Website Communications

constitute the “contents” of electronic communication[s]” within the meaning of the Act.

        151.     Plaintiff Smidga’s and Class Members’ electronic communications are intercepted

contemporaneously with their transmission.

        152.     Plaintiff Smidga’s and Class Members’ interactions with Spirit’s website and its

subpages, including their directional, selection, and clicking actions (using a mouse, arrow keys,

or a finger), the display of information coming from Spirit and directed to Plaintiff Smidga, and

Plaintiff    Smidga’s entry of text into search form fields, were all exchanges of electronic

communications between Plaintiff Smidga and Spirit.

        153.     Plaintiff Smidga’s and Class Members’ intercepted Website Communications

therefore constitute the “contents” of electronic communication[s]” within the meaning of the Act.




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       154.    By operation of the Session Replay Code on Plaintiff Smidga’s device, these forms

of communications were captured continuously, within milliseconds, and immediately transmitted

to and acquired by third-party Session Replay Providers.

       155.    Plaintiff Smidga and Class Members did not consent to having their Website

Communications wiretapped.

       156.    Pursuant to 18 Pa. Cons. Stat. 5725(a), Plaintiff Smidga and the Class Members

seek (1) actual damages, not less than liquidated damages computed at the rate of $100/day for

each violation or $1,000, whichever is higher; (2) punitive damages; and (3) reasonable attorneys’

fees and other litigation costs incurred.

       157.    Spirit’s conduct is ongoing, and it continues to unlawfully intercept the

communications of Plaintiff Smidga and Class Members any time they visit Defendant’s website

with Session Replay Code enabled without their consent. Plaintiff Smidga and Class Members

are entitled to declaratory and injunctive relief to prevent future interceptions of their

communications.

                              COUNT II
    INVASION OF PRIVACY – PENNSYLVANIA INTRUSION UPON SECLUSION

       158.    Plaintiff Smidga, individually and on behalf of the Pennsylvania Class, repeat and

reallege each and every allegation contained above as if fully alleged herein.

       159.    Pennsylvania common law recognizes the tort of invasion of privacy. The right to

privacy is also embodied in multiple sections of the Pennsylvania constitution.

       160.    Each time Plaintiff Smidga and Class Members visited Defendant’s website on

their personal computers and/or mobile devices, Defendant secretly monitored, recorded, and

collected their personal data, in real-time, for Defendant’s monetary gain and without Plaintiff

Smidga’s and Class Members’ consent.

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       161.    Plaintiff Smidga’s and Class Members’ URLs, web page address information,

mouse clicks and movements, scrolling, zooms (out or in), and text submissions (both partial and

complete), including search terms or similar communications, were all collected by the Session

Replay Code that Defendant procured and deployed on its website.

       162.    Plaintiff Smidga and Class Members have an objective, reasonable expectation of

privacy in their Website Communications.

       163.    Because the data collected by the Session Replay Code identifies specific

information input and content viewed by visitors to Defendant’s website, it reveals personalized

and sensitive information about the website visitors’ Internet activity, including the visitor’s

personal interests, search queries, and habits.

       164.    Defendant’s surreptitious procurement and interception of website visitors’

Website Communications therefore allowed Defendant to monitor, record, and disclose Plaintiff

Smidga’s and Class Members’ personal interests, browsing histories, search queries, and habits as

they interacted with and browsed Defendant’s website in real-time.

       165.    Upon information and belief, the Session Replay Code embedded on Defendant’s

website indiscriminately captures the maximum range of data and information, including highly

sensitive and personal information displayed by the websites.

       166.    Plaintiff Smidga and Class Members did not consent to, authorize, or know about

Defendant’s intrusion at the time it occurred. Plaintiff Smidga and Class Members never agreed

that Defendant could collect, disclose, or use the contents of their Website Communications.

       167.    Plaintiff Smidga and Class Members had an objective interest in precluding the

dissemination and/or misuse of their information and communications and in conducting their




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personal activities without intrusion or interference, including the right to not have their personal

information intercepted and utilized for business gain.

        168.   Defendant intentionally intrudes on Plaintiff Smidga’s and Class Members’ private

life, seclusion, or solitude, without consent.

        169.   Defendant’s conduct is highly objectionable to a reasonable person and constitutes

an egregious breach of the social norms underlying the right to privacy.

        170.   Defendant deprived Plaintiff Smidga and Class Members of the right to control

how their personal information and communications are received, used, or disseminated and by

whom.

        171.   Plaintiff Smidga and Class Members were harmed by Defendant’s wrongful

conduct as Defendant’s conduct has caused Plaintiff Smidga and the Class mental anguish and

suffering arising from their loss of privacy and confidentiality of their personal information.

        172.   Defendant’s conduct has needlessly harmed Plaintiff Smidga and the Class by

capturing intimately personal facts and data in the form of their Website Communications. This

disclosure and loss of privacy and confidentiality has caused Plaintiff Smidga and the Class to

experience mental anguish, emotional distress, worry, fear, and other harms.

        173.   Additionally, given the monetary value of individual personal information,

Defendant deprived Plaintiff      Smidga and Class Members of the economic value of their

interactions with Defendant’s website, without providing proper consideration for Plaintiff

Smidga’s and Class Members’ property.

        174.   Further, Defendant has improperly profited from their invasion of Plaintiff

Smidga’s and Class Members’ privacy by using Plaintiff Smidga’s and Class Members’ personal

data and information for its economic value and Defendant’s own commercial gain.



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       175.    Upon information and belief, Defendant derives a significant benefit from the

content intercepted through its procurement and use of Session Replay Code, by collecting,

retaining, and using that data and information to maximize profits through predictive marketing

and other targeted advertising practices.

       176.    As a direct and proximate result of Defendant’s conduct, Plaintiff Smidga and

Class Members are entitled to damages, including compensatory, punitive, and/or nominal

damages, in an amount to be proven at trial.

       177.    Defendant’s conduct is ongoing. Defendant continues to unlawfully procure the

interception and to unlawfully intercept the Website Communications of Plaintiff Smidga and

Class Members any time they visit Defendant’s website with Session Replay Code enabled without

their consent. Plaintiff Smidga and Class Members are entitled to declaratory and injunctive relief

to prevent future interceptions of their communications.

                                       COUNT III
                      VIOLATION OF MARYLAND WIRETAP ACT
                      Md. Code Ann., Cts. & Jud. Proc. § 10-401, et. seq.

       178.    Plaintiff Curd, individually and on behalf of the Maryland Class, repeats and

realleges each and every allegation contained above as if fully alleged herein.

       179.    Plaintiff Curd brings this claim individually and on behalf of the Maryland Class.

       180.    The Maryland Wiretap Act (the “Act”) prohibits (1) the interception or procurement

of another to intercept any wire, electronic, or oral communication; (2) the willful disclosure of

the contents of any wire, electronic, or oral communication that the discloser knew or should have

known was obtained through the interception of a wire, electronic, or oral communication; and (3)

the willful use of the contents of any wire, electronic, or oral communication that the discloser

knew or should have known was obtained through the interception of a wire, electronic, or oral

communication. Md. Code Ann., Cts. & Jud. Proc. § 10-402.
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       181.     Any person who intercepts, discloses, or uses or procures any other person to

intercept, disclose, or use, a wire, electronic, or oral communication in violation of the Act is

subject to a civil action for (1) actual damages, not less than liquidated damages computed at the

rate of $100/day for each violation or $1,000, whichever is higher; (2) punitive damages; and

(3) reasonable attorneys’ fees and other litigation costs incurred. Md. Code Ann., Cts. & Jud. Proc.

§ 10-410(a).

       182.     “Intercept” is defined as any “aural or other acquisition of the contents of any wire,

electronic, or oral communication through the use of any electronic, mechanical, or other device.”

Md. Code Ann., Cts. & Jud. Proc. § 10-401(10).

       183.     “Contents” is defined as when “used with respect to any wire, oral, or electronic

communication, includes any information concerning the identity of the parties to the

communication or the existence, substance, purport, or meaning of that communication.” Md.

Code Ann., Cts. & Jud. Proc. § 10-401(4).

       184.     “Person” is defined as, in relevant part “any individual, partnership, association,

joint stock company, trust, or corporation.” Md. Code Ann., Cts. & Jud. Proc. § 10-401(14).

       185.     “Electronic Communication” is defined as “any transfer of signs, signals, writing,

images, sounds, data, or intelligence of any nature transmitted in whole or in part by a wire, radio,

electromagnetic, photoelectronic, or photooptical system.” Md. Code Ann., Cts. & Jud. Proc. § 10-

401(5)(i).

       186.     Spirit is a person for purposes of the Act because it is a corporation.

       187.     Session Replay Code like that procured by Spirit is a “device” used for the

“acquisition of the contents of any wire, electronic, or oral communication” within the meaning of

the Act.



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       188.    Plaintiff Curd’s and Class Members’ intercepted Website Communications

constitute the “contents” of electronic communications within the meaning of the Act.

       189.    Spirit willfully procures and embeds Session Replay Code on its website to spy on,

automatically and secretly, and intercept its website visitors’ electronic interactions

communications with Spirit in real time.

       190.    Plaintiff Curd’s and Class Members’ electronic communications are intercepted

contemporaneously with their transmission.

       191.    Plaintiff Curd and Class Members did not consent to having their Website

Communications wiretapped.

       192.    Pursuant to Md. Code Ann., Cts. & Jud. Proc. § 10-410, Plaintiff Curd and the Class

Members seek (1) actual damages, not less than liquidated damages computed at the rate of

$100/day for each violation or $1,000, whichever is higher; (2) punitive damages; and (3)

reasonable attorneys’ fees and other litigation costs incurred.

       193.    Spirit’s conduct is ongoing, and it continues to unlawfully intercept the

communications of Plaintiff Curd and Class Members any time they visit Defendant’s website

with Session Replay Code enabled without their consent. Plaintiff Curd and Class Members are

entitled to declaratory and injunctive relief to prevent future interceptions of their communications.

                                  COUNT IV
               INVASION OF PRIVACY – INTRUSION UPON SECLUSION

       194.    Plaintiff Curd, individually and on behalf of the Maryland Class, repeats and

realleges each and every allegation contained above as if fully alleged herein.

       195.    Maryland common law recognizes the tort of invasion of privacy.

       196.    Plaintiff Curd and Class Members have an objective, reasonable expectation of

privacy in their Website Communications.

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       197.    In violation of Plaintiff Curd’s and Class Members’ reasonable expectation of

privacy, Defendant intentionally procured and embedded Session Replay Code on its website to

intercept and record Plaintiff Curd’s and Class Members’ every move.

       198.    Defendant willfully intruded on Plaintiff Curd’s and Class Members’ private lives,

seclusion and solitude, by, for all intents and purposes, installing a recording device on their web

browsers without their consent.

       199.    Each time Plaintiff Curd and Class Members visited Defendant’s website on their

personal computers and/or mobile devices, the Session Replay Code procured and utilized by

Defendant secretly collected their personal data in real-time for Defendant’s monetary gain and

without their consent.

       200.    Because the data collected by the Session Replay Code identifies specific

information inputted and content viewed by visitors to Defendant’s website, it reveals personalized

and sensitive information about the website visitors’ internet activity, including the visitor’s

personal interests, search queries, and habits.

       201.    Defendant’s     surreptitious      interception   of   website   visitors’   Website

Communications therefore allowed Defendant to monitor, record, and disclose Plaintiff Curd’s

and Class Members’ personal interests, browsing histories, search queries, and habits as they

interacted with and browsed Defendant’s website in real-time.

       202.    Upon information and belief, the Session Replay Code embedded on Defendant’s

websites indiscriminately captures the maximum range of data and information, including highly

sensitive and personal information displayed by the websites.

       203.    Plaintiff Curd and Class Members did not consent to, authorize, or know about

Defendant’s procurement of Session Replay Code or intrusion at the time it occurred. Plaintiff



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Curd and Class Members never agreed that Defendant could collect, disclose, or use the contents

of their Website Communications.

       204.    Plaintiff Curd and Class Members had an objective interest in precluding the

dissemination and/or misuse of their information and communications and in conducting their

personal activities without intrusion or interference, including the right to not have their personal

information intercepted and utilized for business gain.

       205.    Defendant willfully intrudes on Plaintiff Curd’s and Class Members’ private life,

seclusion, or solitude, without consent.

       206.    Defendant’s conduct is highly objectionable to a reasonable person and constitutes

an egregious breach of the social norms underlying the right to privacy.

       207.    Defendant deprived Plaintiff Curd and Class Members of the right to control how

their personal information and communications are received, used, or disseminated and by whom.

       208.    Plaintiff Curd and Class Members were harmed by Defendant’s wrongful conduct

as Defendant’s conduct has caused Plaintiff Curd and the Class mental anguish and suffering

arising from their loss of privacy and confidentiality of their electronic communications.

       209.    Defendant’s conduct has needlessly harmed Plaintiff Curd and the Class by

capturing intimately personal facts and data in the form of their Website Communications. This

intrusion, disclosure of information, and loss of privacy and confidentiality has caused Plaintiff

Curd and the Class to experience mental anguish, emotional distress, worry, fear, and other harms.

       210.    Additionally, given the monetary value of individual personal information,

Defendant deprived Plaintiff Curd and Class Members of the economic value of their interactions

with Defendant’s website, without providing proper consideration for Plaintiff Curd’s and Class

Members’ property.



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       211.    Further, Defendant has improperly profited from its invasion of Plaintiff Curd’s

and Class Members’ privacy in their use of their data for its economic value and Defendant’s own

commercial gain.

       212.    Upon information and belief, Defendant derives significant benefit from the content

intercepted through its procurement and use of Session Replay Code, by collecting, retaining, and

using that data and information to maximize profits through predictive marketing and other

targeted advertising practices.

       213.    As a direct and proximate result of Defendant’s conduct, Plaintiff Curd and Class

Members are entitled to damages, including compensatory, punitive, and/or nominal damages, in

an amount to be proven at trial.

       214.    Defendant’s conduct is ongoing. Defendant continues to unlawfully procure the

interception of and intercept the Website Communications of Plaintiff Curd and Class Members

any time they visit Defendant’s website with Session Replay Code enabled without their consent.

Plaintiff Curd and Class Members are entitled to declaratory and injunctive relief to prevent future

interceptions of their communications.

                                    COUNT V
              VIOLATION OF CALIFORNIA INVASION OF PRIVACY ACT
                           Cal. Penal Code § 630 et. seq.

       215.    Plaintiff Mandeng incorporates the above allegations by reference as if fully set

forth herein and brings this count individually and on behalf of the California Class.

       216.    The California Invasion of Privacy Act (“CIPA”) is codified at Cal. Penal Code §§

630-638. The Act contains the following statement of purpose:

       The Legislature hereby declares that advances in science and technology have led
       to the development of new devices and techniques for the purpose of eavesdropping
       upon private communications and that the invasion of privacy resulting from the
       continual and increasing use of such devices and techniques has created a serious


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       threat to the free exercise of personal liberties and cannot be tolerated in a free and
       civilized society.

       217.    California Penal Code § 631(a) accordingly provides, in pertinent part:

       Any person who, by means of any machine, instrument, or contrivance, or in any
       other manner . . . willfully and without the consent of all parties to the
       communication, or in any unauthorized manner, reads, or attempts to read, or to
       learn the contents or meaning of any message, report, or communication while the
       same is in transit or passing over any wire, line, or cable, or is being sent from, or
       received at any place within this state; or who uses, or attempts to use, in any
       manner, or for any purpose, or to communicate in any way, any information so
       obtained, or who aids, agrees with, employs, or conspires with any person or
       persons to unlawfully do, or permit, or cause to be done any of the acts or things
       mentioned above in this section, is punishable by a fine not exceeding two thousand
       five hundred dollars ($2,500).

       218.    At all relevant times, Spirit’s business practice of injecting Session Replay Code

allowed it to access, intercept, learn the contents of and collect Plaintiff Mandeng’s and Class

Members’ personally identifiable information and other data.

       219.    Plaintiff Mandeng, and each Class Member, visited and/or interacted with the Spirit

website while in California.

       220.    Plaintiff Mandeng and Class Members did not consent to any of Spirit’s actions in

intercepting, reading, and learning the contents of their communications.

       221.     Spirit’s conduct was intentional in that it purposefully installed code which allows

it to eavesdrop and learn the content of its users’ communications and other browsing activities

that would otherwise be unavailable to Spirit without engaging in this practice. Spirit directly

participated in the interception, reading, and/or learning of the contents of the communications

between Plaintiff Mandeng, Class Members and California-based web entities.

       222.    The information Spirit intercepts while Plaintiff Mandeng and Class Members are

using its website includes personally identifiable information and other highly specific information

and communications, including, without limitation, every button, keystroke and link a user taps,


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whether the user has taken any screenshots, text entries (including passwords and credit card

information), and how much time a user spent on the website.

       223.    Plaintiff Mandeng and Class Members have suffered loss by reason of these

violations, including but not limited to, violation of the right to privacy. Unless restrained and

enjoined, Spirit will continue to commit such acts.

       224.    As a result of the above violations and pursuant to CIPA section 637.2, Spirit is

liable to Plaintiff Mandeng and Class Members for the greater of treble actual damages related to

their loss of privacy in an amount to be determined at trial or for statutory damages in the amount

of $5,000 per violation. Section 637.2 provides “[it] is not a necessary prerequisite to an action

pursuant to this section that the plaintiffs has suffered, or be threatened with, actual damages.”

       225.    Plaintiff Mandeng further requests, as provided under CIPA, reasonable attorneys’

fees and costs of suit, injunctive and declaratory relief, and punitive damages in an amount to be

determined by a jury sufficient to prevent or deter the same or similar conduct by Spirit.

                                           COUNT VI
                                   STATUTORY LARCENY
                                 Cal. Pen. Code §§ 484 AND 496

       226.    Plaintiff Mandeng, individually and on behalf of the California Class, repeats and

realleges each and every allegation contained above as if fully alleged herein.

       227.    California Penal Code § 496(a) prohibits the obtaining of property “in any manner

constituting theft.” California Penal Code § 484 defines theft:

       Every person who shall feloniously steal, take, carry, lead, or drive away the
       personal property of another, or who shall fraudulently appropriate property which
       has been entrusted to him or her, or who shall knowingly and designedly, by any
       false or fraudulent representation or pretense, defraud any other person of money,
       labor or real or personal property, or who causes or procures others to report falsely
       of his or her wealth or mercantile character and by thus imposing upon any person,
       obtains credit and thereby fraudulently gets or obtains possession of money, or
       property or obtains the labor or service of another, is guilty of theft.

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        228.   Accordingly, the Cal. Pen. Code, specifically, Section 484, definition of “theft”

includes obtaining property by false pretenses and provides the basis for a privacy right of action.

        229.   Defendant intentionally employed a program procured from third parties that would

obtain personal private information under a false purpose, through deception and without the

knowledge of Plaintiff Mandeng or the Class Members, and in doing so, deceived Plaintiff

Mandeng and California Class Members into providing information to Defendant and by extension

to the Session Replay Providers.

        230.   Defendant stole, took, and/or fraudulently appropriated Plaintiff Mandeng’s and

Class Members’ personal information without their consent.

        231.   Defendant concealed, aided in the concealing, sold, and/or utilized Plaintiff

Mandeng’s and Class Members’ personal information obtained for Defendant’s commercial

purposes and the financial benefit of Defendant.

        232.   Defendant knowingly and intentionally committed the acts wherein it obtained by

false pretense personal information because Defendant intentionally deployed the Session Replay

Code that tracked Plaintiff Mandeng’s and Class Members’ information and operated it in a

manner that was concealed and/or withheld from Plaintiff Mandeng and Class Members.

        233.   Defendant deprived Plaintiff Mandeng and Class Members of the right to control

how their personal information and communications are received, used, or disseminated and by

whom.

        234.   With fraudulent intent, Defendant concealed, aided in the concealing, and/or

utilized Plaintiff Mandeng’s and the Class Members’ information for commercial purposes and to

Defendant’s direct financial benefit, as the reasonable and fair market value of the unlawfully

obtained data can be determined in the marketplace.

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       235.    Plaintiff Mandeng and Class Members are entitled to recover the reasonable and

fair market value of the unlawfully obtain personal data taken in violation of California Penal Code

§§ 484 and 496.

                                         COUNT VII
                    VIOLATION OF THE UNFAIR COMPETITION LAW,
                        Cal. Bus. & Prof. Code, Sections 17200, et seq.,

       236.    Plaintiff Mandeng, individually and on behalf of the California Class, repeats and

realleges each and every allegation contained above as if fully alleged herein.

       237.    California’s Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200,

et seq., prohibits unfair competition – meaning any unlawful, unfair, or fraudulent business act or

practice; any unfair, deceptive, untrue, or misleading advertising; and any act prohibited under

Business and Professions Code 17500.

       238.    Defendant is a “person” as defined by Cal. Bus. & Prof. Code § 17201.

       239.    Defendant’s unlawful, unfair, and/or fraudulent business acts and practices,

Defendant engaged in acts of unlawful and/or unfair competition prohibited by Business and

Professions Code 17200 et seq. by virtue of the acts described herein, each of which constitutes an

unlawful and/or unfair business practice. The use of such unlawful and/or unfair business practices

constitutes unfair competition within the meaning of Business and Professions Code.

       240.    The unlawful and/or unfair business practices committed by the Defendant include,

but are not limited to:

               a.         Committing trespass to chattels;

               b.         Committing conversion to chattels;

               c.         Committing civil trespass;

               d.         Violating California common law;



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              e.     Violating federal and state statutory laws;

              f.     Violating the FTC Act and FTC directives;

              g.     Engaging in conduct in which the gravity of the harm to Plaintiff Mandeng

                     and the Class outweighs the utility of the Defendant’s conduct;

              h.     Engaging in acts and/or practices and/or omissions that are immoral,

                     unethical, oppressive, or unscrupulous and causes injury to consumers

                     which outweigh its benefits;

              i.     Without Plaintiff Mandeng’s or Class Members’ knowledge or consent,

                     Defendant injected code into its website that was capable of transmitting the

                     substance of Plaintiff Mandeng’s and Class Members’ communications

                     with Defendant to unauthorized third parties and actively aided and abetted

                     the interception, viewing, and collection of Plaintiff Mandeng’s and Class

                     Members’ personal information and communications so that they could be

                     used for advertising and other purposes for Defendant’s financial benefit.

                     The information and data Defendant intercepted includes valuable personal

                     information, including but not limited to personally identifiable information

                     and other privileged communications and facts; and

              j.     Failing to disclose Defendant’s practices prior to implementing Session

                     Replay Code.

       241.   Plaintiff Mandeng and Class Members interacted with Defendant’s website

reasonably believing that their browsing activities—and any facts and information communicated

to Defendant’s website—were secure and confidential (i.e., solely between themselves and

Defendant).



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       242.    The fact that Defendant shared the personal information of its website’s visitors

with the Session Replay Providers is material information and Plaintiff Mandeng and Class

Members would not have used the website, or insisted on better privacy controls, had Defendant

disclosed this information.

       243.    There is no justification for Defendant’s conduct other than to increase, beyond

what it would have otherwise realized, its profit from the value of its information assets through

the interception and acquisition of Plaintiff Mandeng’s and Class Members’ personal information.

Defendant’s conduct lacks justification in that Defendant has benefited from such conduct and

practices while Plaintiff and Class Members have been misled as to the nature and integrity of

Defendant’s services and have, in fact, suffered material disadvantage regarding their interests in

the privacy and confidentiality of their personal information.

       244.    Defendant actively concealed its tracking practices at issue and had exclusive

knowledge of it, creating a duty to disclose. Defendant could have disclosed its use of Session

Replay Code and obtained its website visitor’s affirmative consent.

       245.    Defendant failed to disclose this tracking practice. Its disclosure would have been

a material and important factor in Plaintiff Mandeng’s and Class Members’ actions related to their

use of the website.

       246.    Defendant’s secret, undisclosed, and deceptive tracking practice caused Plaintiff

Mandeng and Class Members to surrender more in their transactions with Defendant than they

otherwise would have. Had Plaintiff Mandeng and Class Members known that Defendant could

and would use their in-app browser in the manner described, they would have avoided using the

website or demanded better privacy controls, thereby avoiding this injury.




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       247.    Defendant’s conduct was immoral, unethical, oppressive, unscrupulous, and

substantially injurious to Plaintiff Mandeng and Class Members. Further, Defendant’s conduct

narrowly benefited their own business interests at the expense of Plaintiff Mandeng’s and Class

Members’ fundamental privacy interests protected by statute, the California Constitution, and the

common law.

       248.    Plaintiff Mandeng’s and Class Members’ loss of their personal information

constitutes an economic injury.

       249.    Plaintiff Mandeng and Class Members have suffered harm in the form of lost

property value, specifically the diminution of the value of their private and personally identifiable

data and content.

       250.    Defendant’s actions caused damage to and loss of Plaintiff Mandeng’s and Class

Members’ property right to control the dissemination and use of their personal information and

communications.

       251.    Plaintiff Mandeng and Class Members have a property right in their personal

information, which has value to themselves as well as Defendant, and lost money or property as a

result of Defendant’s violations of the UCL.

       252.    Each and every separate act constitutes an unlawful and/or unfair business practice.

Each day that Defendant engaged in each separate unlawful act, omission, or practice is a separate

and distinct violation of Business and Professions Code § 17200.

       253.    As a direct and proximate result of the foregoing acts and practices, Defendant has

received income, profits, and other benefits, which it would not have received if Defendant had

not engaged in the violations of the Unfair Competition Law described in this Complaint.




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       254.    As a direct and proximate result of the foregoing acts and practices, Defendant has

obtained a competitive unfair advantage over similar businesses that have not engaged in such

practices.

       255.    Plaintiff Mandeng has no adequate remedy at law in that damages are insufficient

to protect the public from the harm caused by the conditions described in this Complaint.

       256.    Plaintiff Mandeng and Class Members desire to continue using Defendant’s

website, but unless injunctive relief is granted to enjoin the unlawful business practices of

Defendant, Plaintiff Mandeng, the Class, and the general public have no confidence that Defendant

will not continue to share their personal information and substantive communications with third

parties and will suffer irreparable injury and damage.

       257.    Plaintiff Mandeng and the Class have suffered injury in fact as a result of

Defendant’s unlawful, unfair, and/or fraudulent acts and/or practices.

       258.    Plaintiff Mandeng seeks to enjoin further unlawful, unfair, and/or fraudulent acts

or practices by Defendant, under Cal. Bus. & Prof. Code § 17200.

       259.    Plaintiff Mandeng requests that this Court enter such orders or judgments as may

be necessary to enjoin Defendant from continuing its acts and/or practices which violate the UCL

and to restore to Plaintiff Mandeng and Class Members any money Defendant acquired by unfair

competition, including restitution and/or restitutionary disgorgement, as provided in Cal. Bus. &

Prof. Code § 17203 and Cal. Civ. Code § 3345; and for such other relief set forth below.

                                      COUNT VIII
                                 TRESPASS TO CHATTELS

       260.    Plaintiffs repeat and reallege each and every allegation contained above as if fully

alleged herein. For purposes of this Count, “Plaintiffs and the Classes” means Plaintiffs and the

California, Maryland, and Pennsylvania Classes.

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       261.    Plaintiffs and the Classes owned, possessed, and/or had a right to possess Plaintiffs’

devices (i.e., their mobile device or computer) and/or the data contained therein.

       262.    Plaintiffs’ and Class Members’ devices are chattel in that the devices are tangible,

movable, and transferable.

       263.    Plaintiffs’ and Class Members’ data is also valuable chattel that is tangible or

intangible and is movable and transferable.

       264.    As set forth above, Defendant intentionally, directly or through a third party,

interfered with; intermeddled with; used; took; transferred from Plaintiffs and the Classes; and/or

exercised control or authority inconsistent with Plaintiffs’ and Class Members’ use and/or

possession of the data contained on Plaintiffs’ devices as described above.

       265.    As to the devices, Defendant used Plaintiffs’ and Class Members’ devices by

causing a third party to place Session Replay Code directly on Plaintiffs’ and the Classes devices

for the purpose of tracking all of the user’s interactions with the website that it would not have

been able to track had it not placed the Session Replay Code on the device and engaged in this

surreptitious tracking. Defendant caused a third party to transfer Plaintiffs’ data from Plaintiffs’

devices to the cloud storage data centers of the Session Replay Providers. Defendant exercised

control or authority inconsistent with Plaintiffs’ and Class Members’ use and/or possession of the

devices by placing the Session Replay Code to stalk users of their websites.

       266.    As to the data, Defendant used Plaintiffs’ and Class Members’ data by transferring

it from Plaintiffs’ device to the cloud storage data centers of the Session Replay Providers for the

purpose of using the data to make money without paying for it. Defendant exercised control or

authority inconsistent with Plaintiffs’ and Class Members’ use and/or possession of the data by

capturing, taking, and/or using the data without permission or consent from Plaintiffs and the



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Classes.

       267.     Plaintiffs’ data that was transferred from Plaintiffs’ and Class Members’ respective

devices are maintained in cloud storage devices located on servers across the nation.

       268.     All Session Replay Providers operate in a similar manner with cloud devices and

servers.

       269.     Plaintiffs and the Classes did not consent to the aforementioned intermeddling

and/or interference.

       270.     The aforementioned intermeddling and/or interference was the actual and

proximate cause of injury to Plaintiffs and the Classes because it exposed their respective private

data and/or personally identifiable information and/or other data to one or more third parties.

       271.     Additionally, the interference gave third parties the data and information without

the consent of Plaintiffs and the Classes and which is valuable and for which Defendant did not

obtain informed consent nor pay Plaintiffs or the Classes to obtain.

       272.     Plaintiffs and the Class Members are entitled to recover the actual damages they

suffered as a result of Defendant’s aforementioned interference with their respective computer

and/or mobile devices in an amount to be determined at trial.

                                      COUNT IX
                                CONVERSION TO CHATTELS

       273.     Plaintiffs repeat and reallege each and every allegation contained above as if fully

alleged herein. For purposes of this Count, “Plaintiffs and the Classes” or “Plaintiffs and Class

Members” means Plaintiffs and the California, Maryland, and Pennsylvania Classes.

       274.     Plaintiffs and the Classes owned, possessed, and/or had a right to possess Plaintiffs’

devices (i.e., their mobile device or computer) and/or the data contained therein.

       275.     Plaintiffs’ and Class Members’ devices are chattel in that the devices are tangible,

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movable, and transferrable.

       276.    Plaintiffs’ and Class Members’ data is also valuable chattel that is tangible or

intangible and is movable and transferable.

       277.    As set forth above, Defendant intentionally, directly or through a third party,

interfered with; intermeddled with; used; took; transferred from Plaintiffs and the Classes; and/or

exercised control or authority inconsistent with Plaintiffs’ and Class Members’ use and/or

possession of the data contained on Plaintiffs’ devices as described above.

       278.    As to the devices, Defendant used Plaintiffs’ and Class Members’ devices by

placing Session Replay Code directly on Plaintiffs’ and the Classes devices for the purpose of

tracking all of the user’s interactions with the website that it wouldn’t have been able to track had

it not placed the Session Replay Code on the device and engaged in this surreptitious tracking.

Session Replay Code embedded by Defendant transferred from Plaintiffs’ device Plaintiffs’ data

to the cloud storage data centers of the Session Replay Providers. Defendant exercised control or

authority inconsistent with Plaintiffs’ and Class Members’ use and/or possession of the devices by

placing the Session Replay Code to stalk users of their websites.

       279.    As to the data, Defendant used Plaintiffs’ and Class Members’ data by transferring

it from Plaintiffs’ device Plaintiffs’ data to the cloud storage data centers of the Session Replay

Providers for the purpose of using the data to make money without paying for the valuable data.

Defendant exercised control or authority inconsistent with Plaintiffs’ and Class Members’ use

and/or possession of the data by capturing, taking, and/or using the data without permission or

consent from Plaintiffs and the Classes.

       280.    Plaintiffs’ data that was transferred from Plaintiffs’ and Class Members’ respective

devices are maintained in cloud storage devices located on servers across the nation.



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       281.     All Session Replay Providers operate in a similar manner with cloud devices and

servers.

       282.     As set forth above, Defendant exercised dominion and ownership over Plaintiffs’

and Class Members’ personalty inconsistent with, and in denial of, the rights of Plaintiffs’ and the

Classes.

       283.     Plaintiffs and the Classes did not consent to the aforementioned interference.

       284.     The aforementioned interference was the actual and proximate cause of

injury to Plaintiffs and the Classes because it exposed their respective private data and/or

personally identifiable information and/or other data to one or more third parties.

       285.     Additionally, the interference gave third parties the data and information without

the consent of Plaintiffs and the Classes, and which is valuable, and for which Defendant did not

obtain informed consent nor pay Plaintiff or the Classes to obtain.

       286.     Plaintiffs and the Classes are entitled to recover the actual damages they suffered

as a result of Defendant’s aforementioned interference with their respective devices and/or data in

an amount to be determined at trial.

                                    REQUEST FOR RELIEF

       Plaintiffs, individually and on behalf of the other members of the proposed Classes,

respectfully request that the Court enter judgment in Plaintiffs’ and the Classes’ favor and against

Defendant as follows:

       A.       Certifying the Classes and appointing Plaintiffs as Class representatives;

       B.       Appointing Plaintiffs’ counsel as class counsel;

       C.       Declaring that Defendant’s past conduct was unlawful, as alleged herein;

       D.       Declaring Defendant’s ongoing conduct is unlawful, as alleged herein;


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        E.       Enjoining Defendant from continuing the unlawful practices described herein, and

awarding such injunctive and other equitable relief as the Court deems just and proper;

        F.       Awarding Plaintiffs and the Class Members statutory, actual, compensatory,

consequential, punitive, and nominal damages, as well as restitution and/or disgorgement of profits

unlawfully obtained;

        G.       Awarding Plaintiffs and the Class Members pre-judgment and post-judgment

interest;

        H.       Awarding Plaintiffs and the Class Members reasonable attorneys’ fees, costs, and

expenses; and

        I.       Granting such other relief as the Court deems just and proper.

                               DEMAND FOR JURY TRIAL

        Plaintiffs, on behalf of themselves and the Classes, demand a trial by jury of any and all

issues in this action so triable of right.

 Dated: October 26, 2023                           Respectfully submitted,

                                                   /s/ Gary F. Lynch
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